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                                                                        CL FaK. U.S. Di3T~tICT COURT

  Plaintiff in Pro Se
                                                                              FHB 122025
                                                                      CENTRAL DIST.'';ir,T GF C;ALIFORNIA
                                                                      EASTcRN DIVISION        BY DEPUTY




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CALIFORNIA

    DAVID PHILLIP VALLEJOS,

    Plaintiff,    v.

    ROB BONTA,in his Official

    Capacity as Attorney General for the       Civil Action ~~G~/Z~~ D03~p ..(Ck-Sl~,r

    State of California and CHAD               Memorandum in Support of Motion for
                                               Preliminary Injunction
    BIANCO in his official capacity as

    Riverside County Sheriff




    Defendant.
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                                        I. Introduction


          At issue in this case is the Denial of Plaintiffs Concealed Carry Weapons

   Permit and the Burdensome process to recieve one. That action is a violation of

   Plaintiffls constitutional rights.


         Plaintiff's application and appeal was denied even though Plaintiff is not a

   disqualified Person verified by DOJ and FBI NICS.See Complaint ¶ 69. N.Y. State

   Rifle &Pistol Assn v. Breen, 142 S. Ct. 2111

  (2022)requires that the government show a historical tradition ofrestricting

   firearm rights in a relevantly similar manner. Pursuant to Breen, this denial is

   unconstitutional because there is no historical practice of prohibiting individuals

   from Second Amendment rights simply because they have been investigated for a

   crime or had a now lapsed protection order placed against them. The Supreme

   Court's recent holding in United States v. Rahimi, No. 22-915, 2024 WL 3074728

  (U.S. June 21,2024)also supports a fording that County's policies are

   unconstitutional. There, the Supreme Court only upheld 18 U.S.C.A. § 922(g)(8)

   because there had been a judicial determination that Zachary Rahimi was currently

   dangerous. And Mr. Rahimi's disarmament was temporary. Here, Plaintiff is being
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   Risking arrest for carrying his concealed weapons in public. Thus, County's

   policies bear none ofthe hallmarks which the Supreme Court found critical in

   upholding 922(g)(8).


         Furthermore, Plaintiff's denial and the relevant rules violate due process

   because County does not provide adequate procedures to safeguard against

   erroneous CCW Appeals denials. This Court should issue a preliminary injunction

   which orders State and County to end CCW Scheme and enjoin the relevant portion

   of State's and County's rules.


                                    II. Statement of Fact

    Plaintiff Vallejos is an adult male, U.S. citizen and resident of Riverside County.

   Complaint ¶ 1. Plaintiff Vallejos legally owns a firearm. Complaint ¶ 63. Plaintiff

   Vallejos is not disqualified under California or federal law from owning, possessing

       or carrying a firearm. Complaint ¶ 64. Plaintiff Vallejos has completed all

     requirements under California law and County regulations to be issued a CCW

      license. Complaint ¶ 65. Plaintiff Vallejos applied for a CCW in or about the

          month of July 2022 then in January 2024 and submitted all necessary

    documentation. Complaint ¶ 66. On June 8th', 2023,Plaintiff received an email

    from the PERMITILJM a private company that processes CCW applications that

    informed him his CCW application has been denied. Then on February 29th 2024

   My application was withdrawn. I then filed BOF1031 to Appeal in March 2024. My

                            appeal was denied on 07/01/2024
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                                    III. Argument



   A.Standard for a Preliminary Injunction


         "The appropriate legal standard to analyze a preliminary injunction motion

   requires a district court to determine whether a movant has established that(1)he is

   likely to succeed on the merits of his claim,(2) he is likely to suffer irreparable

   harm absent the preliminary injunction, (3) ttie balance of equities tips in his

   favor, and (4)a preliminary injunction is in the public interest." Baird v. Bonta, 81

   F.4th 1036, 1040 (9th Cir. 2023). Alternatively, an "injunction is appropriate

   when a plaintiff demonstrates that serious questions going to the merits were raised

   and the balance of hardships tips sharply in the plaintiffs favor." Alliance for the

   Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011)(internal citation

   omitted).

   B. County's Rules Demonstrate it is Liable Pursuant to Morrell.


         County is liable for violating Plaintiffls Second Amendment rights. "Local

   governing bodies, therefore, can be sued directly under § 1983 for monetary,

   declaratory, or injunctive relief where, as here, the action that is alleged to be

   unconstitutional implements or executes a policy statement, ordinance, regulation,

   or decision officially adopted and promulgated by that body's officers." Morrell v.

   Dept ofSoc. Servs., 436 U.S. 658,690(1978)(footnotes omitted).
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    Plaintiff was denied a carry permit pursuant to the authority given to the

 Riverside County Sheriff by the Rules. See Complaint ¶ 69. Thus, he was denied

 via an official policy of County.


       The Rules expressly allow RSO to deny permits based on ~~GOOD

 MORAL CHARACTER" Penal code Section §26150(a). p~uant to Monell,

 County is directly liable for denying Plaintiff his permit application.


 C. Plaintiff Has a Strong Likelihood of Success on the Merits

       "[T]he Second Amendment guarantees a general right to public carry,"

 meaning ordinary, law-abiding citizens may "`bear' arms in public for self-defense."

 Bruen, 142 S.Ct. at 2135. Accordingly,the "general right to public carry" cannot be

 restricted absent "exceptional circumstances." Bruen, 142 S. Ct. at 2156(emphasis

 added). To determine whether a state's restriction is constitutional, the Court in

 Breen explained that "the standard for applying the Second Amendment is as

 follows: When the Second Amendment's plain text covers an individual's conduct,
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 the Constitution presumptively protects t11at conduct. The government must then

 justify its regulation by demonstrating that it is consistent with the Nation's historical

 tradition offirearm regulation." 142 S. Ct. at 2129-30. It is the government's burden

 to "affirmatively prove that its firearms regulation is part ofthe historical tradition

 that delimits the outer bounds ofthe right to keep and bear arms."Id. at 2127;see

 also id. at 2150("[W]e are not obliged to sift the historical materials for evidence to

 sustain New York's statute. That is respondents' burden."). Ifthe government fails to

 meet its burden, then the government's restriction is unconstitutional.


 D.Plaintiffs Conduct is Covered by the Second Amendment's Plain Tezt
        If the plaintiff's proposed course of conduct falls within the Second

 Amendment's plain text, then "the Constitution presumptively protects that

 conduct." Bruen, 142 S. Ct. at 2126. The Supreme Court has defined all of the

 Second Amendment's key terms. "The people" means, at a minimum, "all

 Americans";"Arms" includes "all instruments that constitute bearable arms"; and,

 most relevant here, to bear simply means to "carry." District ofColumbia v. Heller,

 554 U.S. 570, 580-82, 584(2008). Here, Plaintiff is one of ttie people.


       In Perez-Garcia the Ninth Circuit found the litigants' status as pretrial

 releasees did not remove them from the People. Furthermore, one ofthe litigants

 had previously been convicted of a misdemeanor crime."As to Fencl, specifically,

 we cannot conclude that his prior misdemeanor conviction or arrests should

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  operate to categorically exclude him from the national community." U.S. v. Perez-

  Garcia, 96 F.4th 1166 1180(9th Cir. 2024)."We therefore conclude that Fencl and

 Perez-Garcia are among `the people"'Id. Pursuant to circuit precedent Plaintiff is

 part ofthe People that has Second Amendment rights. Plaintiff is an American

 who seeks to carry bearable arms for self-defense. As in Bruen, these undisputed

 facts end the textual inquiry: "the plain text ofthe Second Amendment protects

 [Plaintiff's] proposed course ofconduct—carrying handguns publicly for self-

 defense." 142 S. Ct. at 2134. Accordingly, under Bruen's unambiguous directions,

 "the burden falls on [the County] to show that [the challenged restriction] is

 consistent with this Nation's historical tradition offirearm regulation." Id. at 2135.

 Thus, County "must identify a historical analogue that curtails the right to

 peaceably carry handguns [...]for self-defense to a comparable degree, with a

 comparable severity, and with a comparable blanket enforcement." Baird v. Bonta,

 81 F.4th 1036, 1047(9th Cir. 2023).


 The relevant time period for the historical analogue must be the Founding,

 centering on 1791. Breen, 142 S.Ct. at 2135-36;see also Mazk W.Smith, `Not all

 History is Created Equal': In the Post-Breen World, the Critical Periodfor

 Historical Analogues Is when the Second Amendment Was Rated in 1791, and

 not 1868, SSRN,Oct. 1, 2022, https://bit.ly/3CMSKjw. That is because

"`[c]onstiiutional rights are enshrined with the scope they were understood to have

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  when the people adopted them."'Bruen, 142 S. Ct. at 2136, quoting Heller, 554

  U.S. at 634-35. Although the Court in Bruen noted an academic debate

 surrounding whether courts should look to 1868 and Reconstruction (when the

 Fourteenth Amendment was adopted), the Court found no need to address the point

 as the result with respect to carry was the same. Breen, 142 S. Ct. at 2138. But

 there can be no doubt that the actual analysis ofthe Court is focused on 1791. See

 Lara v. Comm'r Pa. State Police, No. 21-1832,2024 U.S. App. LEXIS 1159, at

 *16(3d Cir. Jan. 18, 2024)(Footnotes omitted)("the Second Amendment should

 be understood according to its public meaning in 1791.")3.


        While the Court in Rahimi found it "unnecessary" to decide formally

 whether courts should "primarily rely on the prevailing understanding" in 1789 or

 1868(Rahimi at slip op. 8 n.l), the Court did not even cite(much less rely on)a

 single Reconstruction Era or later statute, practice or tradition. See also Worth v.




 3 Bruen's characterization ofthe Court's precedents as assuming that 1791 is the
 proper answer is an understatement. In Espinoza v. Montana Department of
 Revenue, 140 S. Ct. 2246(2020),for example, the Court held that"more than 30"
 provisions ofstate law enacted "in the second half ofthe 19th Century" could not
 "evince a tradition that should inform our understanding ofthe Free Exercise
 Clause" when those provisions lacked grounding in Founding Era practice. Id. at
 2258-59(emphasis added). And even if modern laws alone could demonstrate a
 broad tradition of a regulation, there must at least be a strong showing that such
 laws are common in the states, i.e., many more than six states. See Kennedy v.
 Louisiana, 554 U.S. 407,423-26(2008)(only six states permitting death penalty
 for child rapists shows national consensus against it).
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 .Iacobson, No. 23-2248, 2024 WL 3419668, at *12(8th Cir. July 16, 2024)("[I]t is

 questionable whether the Reconstruction-era sources have much weight.")

       The historical analogues the State points to must be "representative."

 Historical "outlier" requirements ofa few jurisdictions or ofterritorial governments

 are to be disregarded.Bruen, 142 S. Ct. at 2133,2153,2147 n.22 & 2156. This means

 regulations from only a handful of states or those that cover only a small portion of

 the population are not enough to demonstrate that modern regulations aze consistent

 with the Second Amendment.Id. at 2155 (rejecting regulations applying to only 1

 of the American population). Bruen also categorically rejected reliance on laws

 enacted in the Territories, including expressly "Arizona, Idaho, New Mexico,

 Oklahoma," holding that such laws "are most unlikely to reflect `the origins and

 continuing significance of the Second Amendment' and we do not consider them

 `instructive."' Bruen, 142 S. Ct. at 2154(quoting Heller, 554 U.S. at 614).

       The historical analogues must be "relevantly similar," which is to say that they

 must burden ordinary, law-abiding citizens' right to carry for self-defense in a

 similar manner and for similar reasons. Breen, 142 S. Ct. at 2132. Breen held that

 the inquiry into whether an analogue is proper is controlled by two"metrics" of"how

 and why" any restriction was historically imposed during the Founding era. Id. at

 2133."[W]hether modern and historical regulations impose a comparable burden on

 the right of armed self-defense and whether that burden is comparably justified are

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 `central' considerations when engaging in an analogical inquiry." Id. (emphasis in

 original). In attempting the "affirmatively prove" that its restrictions on public carry

 must refer to historical analogues at the Founding and show those meet Bruen's

 "how" and "why" standard. 142 S. Ct. at 2127,2133.

        The Supreme Court's recent decision in United States v. Rahimi reaffirmed

 Bruen's holding that firearms regulations must be justified via relevantly similar

 historical laws."For example, if laws at the founding regulated firearm use to

 address particular problems, that will be a strong indicator that contemporary laws

 imposing similar restrictions for similar reasons fall within a permissible category

 ofregulations." Rahimi at *6. However,Rahimi cautioned "[e]ven when a law

 regulates arms-bearing for a permissible reason, though, it may not be compatible

 with the right if it does so to an extent beyond what was done at the founding."Id.

 E. There is No Historical Tradition of Disarming Individuals Like Plaintiff
       The U.S. Supreme Court recently addressed a similar issue in United States v.

 Rahimi. There, the Supreme Court upheld a facial challenge to 18 U.S.C.A. §

 922(g)(8). The law in Rahimi was permissible because there is a regulatory tradition

 ofrestricting firearm possession and use by those currently "found by a court to

 present a threat to others." Rahimi at *9. Rahimi's core holding is "[a]n individual

 found by a court to pose a credible threat to the physical safety of another may be

 temporarily disarmed consistent with the Second Amendment." Rahimi, at *11.


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        The Supreme Courtjustified its holding by relying on two historical types of

 laws called sureties and "going armed" laws4. These laws demonstrates that early

 American societies typically dealt with firearms violence by removing the right to

 carry firearms only to those that had been judged unsafe to carry firearms."That

 matches the surety and going armed laws, which involved judicial determinations of

 whether a particular defendant likely would threaten or had threatened another with a

 weapon." Rahimi, at *9. Rahimi also observed that the prohibition on Mr. Rahimi's

 firearm rights was temporary and only existed as long the restraining order was in

 place. "Moreover, like surety bonds of limited duration, Section 922(g)(8)'s

 restriction was temporary as applied to Rahimi. Section 922(g)(8) only prohibits

 firearm possession so long as the defendant "is" subject to a restraining order.

 Rahimi, at *10. Thus,Rahimi supports rejecting the use of lapsed restraining orders to

 justify disarming Plaintiff. Finally, the Supreme Court found "in holding that Section

 922(g)(8) is constitutional as applied to Rahimi, we reject the Government's

 contention that Rahimi may be disanned simply because he is not "responsible."

 Rahimi, at *11. Thus, Rahimi supports Plaintiffs claim HPD's policies violate the

 Second Amendment because Plaintiff has not received a currentjudicial

 determination that he is dangerous. Furthermore, Rahimi supports the continued

 propriety of circuit precedent.



 4 Both ofthese authorities pre-date 1791.
                                          to
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        The Ninth Circuit in Perez-Garcia found several criteria a restriction must

 satisfy to be constitutional.

       The Government in this case acted in accordance with this historical
       tradition. The Government established an individualized need for
       applying the firearm condition against each Appellant in adversarial
       proceedings before two sets of neutral judicial officers. Those neutral
       judicial officers determined based on the evidence presented that
       Appellants posed a risk while on bail and that the firearm condition
       was the least restrictive way to assure the safety ofthe community as
       well as their appearances in court.

 U.S. v. Perez-Garcia,96 F.4th 1166, 1190(9th Cir. 2024)

       In doing so it endorsed then Judge Barnet's dissent in Kanter v. Barr."[T]he

 Bail Reform Act's firearm condition is a clear exercise of Congress' historical

 legislative power to disarm those who are "'u~ dFed to be a threat to the public safety."

 U.S. v. Perez-Garcia,96 F.4th 1166, 1189(9th Cir. 2024)(quoting Kanter v. Barr,

 919 F.3d 437,458(7th Cir. 2019)(Barrett, J., dissenting), abrogated by Bruen, 597

 U.S. at 17, 142 S.Ct. 2111)(emphasis added).

       Furthermore, the Ninth Circuit found that a prohibition must be individually

 tailored by ajudicial officer. "Relatedly and importantly, the firearm condition at

 issue here is individually tailored and applied only after consideration by ajudicial

 officer." U.S. v. Perez-Garcia, 96 F.4th 1166, 1189(9th Cir. 2024)(emphasis added).

 And the Court found that a firearm prohibition must be the least restrictive means

 available. Id at 1190. Finally, Perez-Garcia emphasized that the temporary nature of

 the litigants' firearm rights prohibition. "[T]he firearm condition is a temporary one,
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 lasting only through the pendency oftrial, see 18 U.S.C. § 3142(a), and the condition

 is imposed only upon individualized consideration by a judicial officer."Id at 1181.

 Here, County Rules do not bear any resemblance to the protections afforded to

 pretrial releasees. Plaintiff's CCW denial is based in part on an investigation for a

 crime. An investigation does not afford any judicial proceedings at all.

        As the Supreme Court has observed, "[t]he mere fact that a man has been

 arrested has very little, if auy, probative value in showing that he has engaged in any

 misconduct." Schware v. Bd. of Bar Exam. of State of N.M., 353 U.S. 232, 241

(1957). Here, Plaintiff was merely investigated for a crime. An investigation is

 even less probative than an arrest. Many courts post-Breen have found that a mere

 arrest is insufficient to remove Second Amendment rights. In Davis v. Yenchko,

 2023 Ill. Cir. LEXIS 4 an Illinois state court found Illinois law which

 prohibited firearms ownership to certain people "to be unconstitutional as applied to

 persons charged with a felony but not yet convicted of a felony." Id at *13. "In this

 case, Plaintiffs were disarmed solely based on an accusation. There was no hearing,

 such as a bond hearing,to determine whether these Plaintiffs were dangerous and,thus,

 should be disarmed pending trial."Id at * 7. Similarly, in Allen v. District ofColumbia,

 Civil Action No. 20-cv-2453 (TSC), 2023 U.S. Dist. LEXIS 60950, at *27(D.D.C.




 5 And as to the expired temporary restraining order, no findings were made and
 Kahalewai agreed to a temporary restriction.
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 Mar. 31, 2023)the court reviewed a challenge to the District of Colombia's policy of

 denying carry permits based on certain arrests that did not lead to a conviction. In

 denying the motion to dismiss the Court found "the fact that Allen may have been

 suspected ofcriminal conduct in the past(but not charged)does not permit Defendants

 to restrict his Second Amendment rights."Id at *27."Under federal law [18 U.S.C. §

 922(n)],a person merely charged with a felony cannot acquire firearms or ammunition

 but remain free to continue to possess firearms akeady in their possession." Davis v.

 Yenchko, 2023 Ill. Cir. LEXIS 4, *7. For another, the County "has not attempted to

 explain why its other statutory restrictions, none of which the Plaintiffs have

 challenged, do not reduce the risk ofdanger already." Worth WL 3419668, at *10.

        The legal rule that can be derived from Rahimi, circuit precedent and the other

 cases cited to, is that a person cannot have his Second Amendment rights removed

 unless there has been ajudicial determination that they will be a danger to

 themselves or others ifthey are allowed to carry a fireatm.6 "[TJhe historical tradition


 6 This is in line with the treatment ofthe mentally ill. Currently, in virtually every
 state a person can only be committed against their will ifthey present a danger to
 themselves, and to others, and a judge must make the decision, after notice and a
 hearing.                                                           The same rule
 applies for federal dispossession for mental illness. Under federal law, a person
 only loses his firearm rights due to an involuntary commitment ifthat commitment
 was ordered by a judge. See Stokes v. United States DOJ,551 F. Supp. 3d 993,
  1004(N.D. Cal. 2021)("there was no judicial involvement, much less "robust
 judicial involvement," so under Mai,there was no "commitment" within the
 meaning of Section 922(g)(4)."); See also United States v. Rehlander,666 F.3d 45,
 48(1~ Cir. 2012)(holding the same)("the right to possess arms ... is no longer
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 of disarming "unlawful° individuals appears to mainly involve disarming those

 convicted ofserious crimes after they have been afforded criminal process." United

 States v. Connelly, No. EP-22-CR-229(2~KC,2023 U.S. Dist. LEXI5 62495, at *27

(W.D. Tex. Apr. 6,2023). County's regulations "in contrast, disarms those who

 engage in criminal conduct that would give rise to misdemeanor charges, without

 affording them the procedural protections enshrined in our criminal justice system."

 Id. Here, there has been no judicial determination that Plaintiff is dangerous. Rather

 Plaintiffwas merely investigated for a crime. And as a result, there was no

 individualized consideration by a judicial officer. And there has been no showing that

 denying Plaintiff a concealed carry permit is the least restrictive means to prevent any




 something that can be withdrawn by government on a permanent and irrevocable
 basis without due process.")."As Rehlander persuasively demonstrates, an ex
parte hearing is not enough to fall within the Section 922(g)(4) prohibition; some
 adversary process is necessary fora "commit[ment]" under Section 922(g)(4)."
  United States v. McMichael,350 F. Supp. 3d 647,661 (W.D. Mich. 2018). As for
 the history, See Mai v. United States,974 F.3d 1082, 1090(9th Cir. 2020)
(Bumatay, Dissenting from denial ofen banc)(quoting, Henry Care, English
 Liberties, or the Free-born Subject's Inheritance 329(6th ed. 1774)(noting that
" judicial officials were authorized to "lock up" "lunatics" or "other individuals with
 dangerous mental impairments"(thereby depriving them of all rights), they were
"locked up only so long as such lunacy or disorder shall continue, and no
 longer.""); See also Tyler v. Hillsdale Cty. Sherds Dept,837 Fad 678, 706(6th
 Cir. 2016)("the common law prohibited the warrantless arrest ofthose thought to
 have lost their reason, and it allowed for the deprivation ofthe fundamental right to
 liberty or the fundamental right to control one's property only upon a valid
judgment from a civil tribunal,")(citing Henry F. Buswell, The Law ofInsanity in
 its Application to the Civil Rights and Capacities and Criminal Responsibility of
 the Citizen 17(1885)at 26-28)(Batchelder, Concurring).
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  perceived risk. Perez-Garcia is further supportive ofthe unconstitutionality ofthe

  County's actions because County believes it can disarm Plaintiff; §26150(a)

        Thus, the prohibition here is not temporary' in nature. County believes that

  it has the right to deny Plaintiff for 2 years based on nothing more than an

  investigation and dismissed case. Id. Circuit precedent dictates that Plaintiffls

 denial as well as County's rules are unconstitutional. The same reasoning applies

 to County's use of lapsed protection orders to deny Plaintiffs firearm rights. There

 is no historical tradition    of denying      firearm   rights    based   on   lapsed

 protection orders, investigations or dismissed cases. "[The government bears the

 burden of showing that any regulation infringing on Second Amendment rights

 is consistent with this nation's historical tradition of firearm regulation." U.S.

 v. Perez-Garcia, 96 F.4th 1166, 1175 (9th Cir. 2024). As Rahimi makes clear, a

 current restraining order and a lapsed restraining order are two different things.

 That is because a lapsed restraining order is not a determination that a person is

 currently dangerous. Any historical fireann prohibition County might produce is

 distinguishable from the lapsed protective orders at issue here. As the Rahimi

 Court found "like surety bonds of limited duration, Section 922(g)(8)'s

 restriction was temporary as applied to Rahimi. Section 922(g)(8) only prohibits

 firearm possession



 ~ Other than in the technical sense.
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 so long as the defendant "is" subject to a restraining order." Rahimi at *10. Once a

 historical prohibition ended, it could not be used to justify further firearm restrictions.

        On a more fundamental level, County cannot rely on lapsed protective orders

 to justify the removal offirearms rights because these lapsed orders are not ajudicial

 determination that Plaintiffis currently dangerous."A legislature's ability to deem a

 category of people dangerous based only on belief would subjugate the right to bear

 arms `in public for self-defense' to `a second-class right'." Worth WL 3419668, at

 *11. To the event there was any judicial fmdingg that was only for the duration ofthe

 protective order and has no bearing on Plaintiffs current condition. County's

 reliance on the protective orders issued against Plaintiff is faulty because by their

 own terms the protection orders have lapsed. Therefore, they have no probative value

 in determining whether Plaintiff is currently dangerous. Furthermore, there has been

 no showing that this is the least restrictive means to ensure public safety by ajudicial

 officer. And as with the use ofthe investigations, the use oflapsed protective orders

 is not temporary as the term was contemplated by Perez-Garcia. Rather, here the

 prohibition is for ten years. There is no historical tradition for denying firearms rights

 based on lapsed protective orders. Plaintiffs denial is unconstitutional.

 F. Plaintiffs Due Process Rights Have Been Violated
       County has violated Plaintiffs Due Process Right. This is because County



 g Plaintiff does not concede that such a finding was made.
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 labeled Plaintiff unsuitable to carry a firearm without adequate procedures. To

 demonstrate a claim for procedural due process a litigant must fulfill the test laid out

 in Mathews v. Eldridge,424 U.S. 319, 335,96 S.Ct. 893,47 L.Ed.2d 18(1976). This

 test requires that we balance: "(1)the private interest at stake;(2)the risk of an

 erroneous deprivation ofthat interest through the procedures used and the probable

 value (if any)ofalternative procedures;(3)the government's interest, including the

 possible burdens ofalternative procedures." Id. Here,Bruen expressly holds that

 Plaintiff has a constitutional right to carry a firearm for lawful self-defense. Thus,

 Plaintiffhas a protected liberty interest at stake in this litigation.

        There is a great risk oferroneous deprivation because County relies on

 unreliable information to form a determination ofcurrent unsuitability such as

 investigations into a crime and lapsed protection orders. And County did not alert

 Plaintiffthat he had to present evidence beforehand to demonstrate he is suitable to

 carry a firearm.9 "Actually," as the D.C. Circuit has explained,"a collection of

 dismissed, abandoned or withdrawn arrest records are no more than gutter rumors

 when measured against any standards ofconstitutional fairness to an individual and,

 along with records resulting in an acquittal are not entitled to any legitimate law




 9 County rules provide that the burden of disqualifying Plaintiff rests with County,
 though the level ofthe burden of proof is not specified. It is improper burden
 shifting to require Plaintiffto disprove County's unlawful disqualification when
 there is no basis to disqualify him ab initio.
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 enforcement credibility whatsoever." Utz v. Cullinane, 520 F.2d 467,479(D.C. Cu.

  1975)(quoting United States v. Dooley,364 F.Supp. 75, 77(E.D.Pa.1973).

        The procedures used by County are woefully inadequate in light ofthe fact a

 constitutional right is at stake. County labeled Plaintiff unsuitable to exercise a

 constitutional right even after Appeal "when the individual interests at stake in a

 state proceeding are both `particularly important' and `more substantial than mere

 loss of money."'Santosky v. Kramer,455 U.S. 745,756(1982)(holding that

 termination of parental rights must be supported by clear and convincing evidence

 rather than a "fair preponderance")(quoting Addington v. Texas,441 U.S. 418,424

(1979)).

       The Supreme Court has repeatedly held that "[a]n essential principle of due

 process is that a deprivation of life, liberty, or property be preceded by notice and

 opportunity for hearing appropriate to the nature ofthe case." Cleveland Bd. of

 Educ. v. Loudermill,470 U.S. 532,542(1985)(internal quotation marks omitted).

 In the civil forfeiture context, for example, the Court has held that the government

 must generally provide notice and a hearing before seizing real property, United

 States v. James Daniel Good Real Property, 510 U.S. 43,62(1993)."In Yitek v.

 Jones,445 U.S. 480, 100 S.Ct. 1254,63 L.Ed.2d 552(1980), we held that a

 convicted felon serving his sentence has a liberty interest, not extinguished by his

 confinement as a


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  criminal, in not being transferred to a mental institution and hence classified as

 mentally ill without appropriate procedures to prove that he was mentally ill."

 Foucha v. Louisiana, 504 U.S. 71, 78-79(1992)"The interest ofthe prisoner in not

 being arbitrarily classified as mentally ill and subjected to unwelcome treatment is

 also powerful, however; and as the District Court found,the risk oferror in making

 the determinations required by § 83-180 is substantial enough to warrant appropriate

 procedural safeguards against error." Yitek v. Jones,445 U.S. 480,495, 100 S. Ct.

 1254, 1265(1980). Those include notice and a hearing.Id at 494. Importantly the

 Supreme Court has found that the there is a liberty interest at play in being labeled

 mentally ill. "It is indisputable that involuntary commitment to a mental hospital after

 a fording ofprobable dangerousness to self or others can engender adverse social

 consequences to the individual. Whether we label this phenomena "stigma" or

 choose to call it something else is less important than that we recognize that it can

 occur and that it can have a very significant impact on the individual." Addington v.

 Texas, 441 U.S. 418,425-26(1979);See also Yitek v. Jones,445 U.S. 480,492

(1980)(reaffirming Holding). Similar protections should be afforded before being

 labeled "unsuitable".

        Ifdue process requires a hearing prior to seizing real property, then due

 process assuredly requires that Plaintiff be given an adversarial hearing prior to being

 deprived of a constitutional right as well. County may argue that its process satisfies


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 due process because Plaintiffhas the possibility ofan appeal. See Senate Bi112

(SB2)(Appeal Procedures). However,the Supreme Court has already found that a

 procedurally defective proceeding is not cured by the possibility of an appellate

 remedy."Nor,in any event, may the State's trial court procedure be deemed

 constitutionally acceptable simply because the State eventually offers a defendant an

 impartial adjudication." Ward v. Monroeville,409 U.S. 57,62(1972). Here,

 Plaintiffwas provided inadequate procedure before his firearms carry application

 was denied. Pursuant to precedent,the possibility ofan appeal afterwards does not

 cure the defective original proceeding. As shown,Plaintiffs denial and County's

 Rules have a high risk oferroneous determination.

       Moreover, the government has no interest in not providing a hearing or using

 alternative criteria for evaluating suitability. "Requiring the Government to

 postpone seizure until after an adversary hearing creates no significant

 administrative burden." U.S. v. James Daniel Good Real Prop.,510 U.S. 43,59

(1993). County Rules already mandate that an applicant be allowed an appeal.

"From an administrative standpoint it makes little difference whether that hearing is

 held before or after the seizure." Id. Moreover,RSO could limit itselfto relying on

 qualifying convictions and other reliable criteria if it wished to minimize the need

 for a hearing. As it stands any harm to RSO "is minimal in comparison to the injury

 occasioned by erroneous seizure."Id.


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  Pursuant to the governing case law, County's Rules and Plaintiffs firearm cant'

  application denial violate due process. As shown above, County's denial and the

  RSO's rules are unconstitutional. This court should find Plaintiff has demonstrated

  a likelihood ofsuccess on the merits.

                     IV.       Plaintiff will suffer irreuarable harm


        The remaining preliminary injunction factors follow readily. Plaintiff will

  suffer irreparable harm because he will risk arrest while he exercise his

  constitutional right to carry a Weapon unless a preliminary injunction is granted.

 "It is well established that the deprivation ofconstitutional rights `unquestionably

  constitutes irreparable injury." Melendres v. Arpaio,695 F.3d 990, 1002(9th Cir.

  2012)(quoting Elrod v. Burns,427 U.S. 347,373(1976)); 11A Charles Alan

  Wright et al., Federal Practice and Procedwe § 2948.1 (2d ed. 1995)("When an

  alleged deprivation ofa constitutional right is involved, most courts hold that no

  further showing of irreparable injury is necessary."). The Ninth Circuit has

  imported the First Amendment"irreparable-if-only-for-a-minute" rule to other

  rights and, in doing so, has held deprivation ofthose rights is irreparable harm per

  se. Monterey Mech. Co. v. Wilson, 125 F.3d 702,715 (9t11 Cir. 1997)."This

  analysis does not change where the constitutional violation at issue is a Second

  Amendment violation." Baird v. Bonta, 81 F.4th 1036, 1046(9th Cir. 2023). See

  also Ezell v. City ofChi., 651 F.3d 684.700(7th Cir. 2011)(a deprivation ofthe

  right to arms is "irreparable and having nil
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  adequate remedy at law.").

  V.      Granting the TRO/PI is in the Public Interest and Serves Equity


        The last two preliminary injunction elements merge when the government is the

 defendant. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014)

(citation omitted). When challenging government action that affects the exercise of

 constitutional rights, "[t)he public interest ... tip[s] sharply in favor of enjoining the"

 law. Klein v. City ofSan Clemente, 584 F.3d 1196, 1208(9th Cir. 2009). As the Ninth

 Circuit has made clear, "all citizens have a stake in upholding the Constitution" and

 have "concerns [that] are implicated when a constitutional right has been violated."

Preminger v. Principi,422 Fad 815,826(9th Cir. 2005). The State "cannot suffer harm

from an injunction tr►at merely ends an unlawful practice or reads a statute as required

to avoid constitutional concerns." Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.

 2013); See Yalle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) ("[I]t is

clear that it would not be equitable . . . to allow the state . . . to violate the requirements

of federal law." (citations omitted)). [W]epresume that a constitutional violation causes

a preliminary injunction movant irreparable hann and that preventing a constitutional

violation is in the public interest. Baird v. Bonta, 81 F.4th 1036, 1046 (9th Cir. 2023).

This Court should grant a preliminary injunction because it both serves equity and is in

the public interest to end County's unconstitutional practices.

VI. Waiver of Bond is Proper and Appropriate Under These Circumstances

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       "Notwithstanding its seemingly mandatory language," stating that the movant

 must provide "security in an amount that the court considers proper to pay the costs

 and damages sustained by any party found to have been wrongfully enjoined or

 restrained," "Rule 65(c) invests the district court with discretion as to the amount of

 security required, if any." Weaver v. City ofMontebello, 370 F.Supp.3d 1130, 1139

(C.D. Cal. 2109)(quoting Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir.

 2009)). The court may properly dispense with any such bond requirement when "the

 balance of ... equities weighs overwhelmingly in favor of the party seeking the

 injunction," East Bay Sanctuary Covenant v. Trump, 349 F.Supp.3d 838, 869(N.D.

 Cal. 2018)(quoting Elliott v. Kiesewetter,98 Fad 47,60(3d Cir. 1996)), when "there

 is no realistic likelihood ofharm to the defendant ftom enjoining his or her conduct,"

Johnson at 1086 (internal quotations omitted), and where the plaintiffs have a

"likelihood ofsuccess on the merits,"People ofthe State ofCal. ex rel. Yan De Kamp

v. Tahoe Regency Planning Agency, 766 F.2d 1319, 1326 (9th Cu. 1985). All these

factors are true here, thus rendering a waiver both proper and appropriate.

          VII.     This Court Should Consolidate Pursuant to Rule 65(a)(2)


       Rule 65(a)(2) ofthe Federal Rules of Civil Procedwe state "[b]efore or after

beginning the hearing on a motion for a preliminary injunction, the court may

advance the trial on the merits and consolidate it with the hearing. This Court


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 should do so here because "[g]iven the expedited and predominately legal nature of

 the questions presented by this litigation," the "evidence presented by the parties

 through the briefing and hearing on the motions for preliminary injunctions will be

 relevant to adjudicating the Plaintiffs' claims on the merits."Donald J. Trumpfor

President, Inc. v. Bullock, No. CV 20-66-H-DLC,2020 U.S. Dist. LEXIS 169794,

 at *2(D. Mont. Sep. 16, 2020). Here, there cannot be any serious dispute as to what

 the County rules say or the reasons for County denying Plaintiffls application.

 Therefore, the matter before this court is predominantly legal in nature. Moreover,

Plaintiff is currently suffering irreparable harm and would thus benefit from a

consolidated hearing. Thus, this case is a prime candidate for consolidation.

                                 VIII.     Conclusion

   Plaintiffls CCW denial is unconstitutional. As are County's and RSO's rules

              which gave RSO the authority to do so. Bruen command

     s that government officials cannot be given authority to use their subjective

  discretion to deny Second Amendment rights. It is also unconstitutional for the

  County to deny Second Amendment rights based on an investigation ofa crime

     and two now lapsed protection orders. This Court should enter a preliminary

 injunction which orders STATE OF CALIFORNIA to cease with it's CCW Scheme

    and adopt permitless carry and Remove the burdensome and expensive CCW

                                         scheme.


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  15.10 for the pendency of litigation.



 DATE Corona, California; April 10, 2025.

                                    Respectfully submitted,
                                 In Pro Se



                                                      DAVID PHILLIP VALLEJOS




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